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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

“NATIONWIDE LIFE INSURANCE COMPANY,
a foreign corporation,

Plaintiff,

VS Case: 2:1 1-cv-12422-AC-MKM
Hon. Avern Cohn
WILLIAM KEENE, JENNIFER KEENE,
MONICA LYNN LUPILOFF, NICOLE RENEE
LUPILOFF and NICOLE RENEE LUPILOFF
_ PERSONAL REPRESENTATIVE OF THE ESTATE
OF GARY LUPILOFF, DECEASED,

Defendants.
» Michael F. Schmidt (P25213) Albert L. Holtz (P15088)

Attorney for Plaintiff ALBERT L. HOLTZ, P.C.

1050 Wilshire Dr, Ste 320 Attorney for Monica Lupiloff, Nicole

Troy Ml 48084 Lupiloff and Nichole Lupiloff,

248 649-7800 Persona! Representative of the
Estate of Gary Lupiloff, deceased
248 593-5000

DEFENDANTS’ ANSWER TO COMPLAINT FOR INTERPLEADER
AND DECLARATORY RELIEF

NOTICE OF SPECIAL AND/OR AFFIRMATIVE DEFENSES
CERTIFICATE OF SERVICE
. NOW COME the Defendants herein, Monica Lynn Lupiloff, Nicole Renee Lupiloff
and Nicole Renee Lupiloff Personal Representative of the Estate of Gary Lupiloff ,
Deceased, by their attomey, ALBERT L. HOLTZ, P.C., and In response to Plaintiff's

Complaint answer as follows:

1. Neither admitted nor denied for want of sufficient information.
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. Neither admitted nor denied for want of sufficient information.
. Neither admitted nor denied for want of sufficient information.

. Denied. Monica Lynn Lupiloff is a resident of Chicago, Cook County, Illinois.

. Admitted.

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. Admitted.
7. Admitted.

8. Neither admitted nor denied forthe reason that Defendants are unaware whether

same is true.

9. Neither admitted nor denied for the reason that Defendants are unaware whether
same Is true.

10. Admitted.

11. Neither admitted nor denied for the reason that Defendants are unaware

whether same is true.
12. Denied as untrue.
+ 13. Denied as untrue.

14. Neither admitted nor denied for the reason that Defendants are unaware

whether same is true.

15. Neither admitted nor denied for the reason that Defendants are unaware

whether same is true.

16. Neither admitted nor denied for the reason that Defendants are unaware
whether same is true.
17. Admitted.

° 18. Admitted.
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19. Admitted.

20, Neither admitted nor denied for the reason that Defendanis are unaware

whether same is true.

21. Admitted.

22, Neither admitted nor denied for the reason that Defendants are unaware
whether same is true.

23. Nelther admitted nor denied for the reason that Defendants are unaware
whether same is true.

24. Neither admitted nor denied for the reason that Defendants are unaware
wheiher same is true.

25. Admitted.

26. Neither admitted nor denied for the reason that Defendants are unaware
whether same is true.

27. Neither admitted nor denied for the reason that Defendants are unaware
whether same is true.

28. Admitted.

29, Admitted.

30. Neither admitted nor denied for the reason that Defendants are unaware
whether same is true.

31. Neither admitted nor denied for the reason that Defendants are unaware
whether same is true.

32. Neither admitted nor denied for the reason that Defendants are unaware

whether same is true.
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33, Admitted.
34. Denied for the reason that said allegations are untrue.

35. Admitted that there was fraud, denied that Plaintiff can return the premiums.

36. Neither admitted nor denied for the reason that Defendants are unaware
* whether same is true.
37. Neither admitted nor denied for the reason that Defendants are unaware
whether same is true.
NOTICE OF SPECIAL AND/OR AFFIRMATIVE DEFENSES
TO: Clerk of the Court and Michael F. Schmidt
PLEASE TAKE NOTICE that prior to or at the time of trial the Defendants will assert
the following Special and/or Affirmative Defenses:
First Affirmative Defense
1. Breach of contract / third-party beneficiary contract.
Second Affirmative Defense
2, The Complaint fails to state a cause of action upon which relief can be granted.
Third Affirmative Defense
3. The frauds of Defendants William Keene and Jennifer Keene.

Fourth Affirmative Defense

4. Laches / failure to bring this action in an appropriate time.
Fifth Affirmative Defense
5. Doctrine of unclean hands. Nationwide and/or its agents dealt with the life
insurance policy (hereinafter “Policy”) and change of ownership and beneficiary forms

without checking the bone fides of the beneficiaries or the bone fides of the signatures
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Sixth Affirmative Defense
6. Jurisdiction and venue; the parties are residents of multiple states.

Seventh Affirmative Defense

7. Improper venue.
Eighth Affirmative Defense
8. Plaintiff has incurred no damages.
Ninth Affirmative Defense
9. Barred by the Statute of Frauds. There is no verification of the change of
beneficiary by the Plaintiff.

Tenth Affirmative Defense

10. Coercion, fraud and/or duress. Decedent was fraudulently induced by the
Keenes to sign said documents, or his signature was forged.
Eleventh Affirmative Defense
11. MCLA; MCL 2082(4).
Twelfth Affirmative Defense
12. Jennifer Keene was an accomplice on information and belief or aware of the
itegal acts committed by her husband.
Thirteenth Affirmative Defense
13. Fraud, committed by Defendants, Keenes, on decedent and Plaintiff.
Fourteenth Affirmative Defense
14. The failure of Plaintiff to investigate the facts of this case.
Fifteenth Affirmative Defense
15. The negligence, carelessness and/or gross or willful misconduct in failing to
question further the motives of issues of the subject Policy.

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Sixteenth Affirmative Defense
16. The failure of Plaintiif to question the motive for change and failure to

authenticate the signatures made during the change, and failure to provide an approval or

authentication.
Seventeenth Affirmative Defense
17. Unjust enrichment; Plaintiff collected premiums on a Policy for which it has
decided not to pay because of legal issues not propounded by Defendant Estate or the
surviving daughters.

Eighteenth Affirmative Defense
18. Demand for responses to these Special and/or Affirmative Defenses is hereby
made.
Nineteenth Affirmative Defense

19. Defendants reserve the right to amend their Special and/or Affirmative

Defenses.

ALBERT L. HOLTZ, P.C.
Dated: 14 June 2011 jsf __ Albert L. Holtz
CERTIFICATE OF SERVICE

LYNN PARSONS does hereby affirmatively
state that on 6/22711she electronically filed

the foregoing and this Proof-of Service with the
Clerk of the Court using Wiznet E-File & Serve
system which will effectuate service upon

all counse! of record.

/s/ Lynn Parsons

